        2:15-cv-02136-CSB-EIL # 2          Page 1 of 2
                                                                                                 E-FILED
                                                                   Monday, 29 June, 2015 02:18:13 PM
                                                                        Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF ILLINOIS, URBANA DIVISION

                                              )
HYE-YOUNG PARK, a/k/a LISA PARK,              )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     ) Case No.:15-cv-2136
                                              )
MICHAL T.HUDSON, individually,                ) Judge: Hon. Colin Stirling Bruce
HEIDI JOHNSON, individually,                  ) Magistrate: Hon. Eric I. Long
CHARLES SECOLSKY, individually,               )
ROBERT STAKE, individually,                   )
and THE BOARD OFTRUSTEES OF THE               )
UNIVERSITY OF ILLINOIS,                       )
                                              )
       Defendants.                            ) JURY TRIAL DEMANDED
                                              )

                         CERTIFICATE OF MAILING WAIVERS

       The undersigned attorney, M. Dennis Mickunas certifies that he caused written Notice of

Lawsuit and Request to Waive Service of Summons (Form AO 398), two copies of Waiver of the

Service of Summons (Form AO 399), and a self-addressed envelope with proper postage attached

to be mailed to the defendants at the following addresses, by placing same in the U.S. Mail at

Urbana, Illinois, at or before 5:00 p.m. on June 26, 2015, with proper postage prepaid:

Robert E. Stake                                     Heidi Johnson
304 W. Iowa                                         Office of Diversity, Equity and Access
Urbana, IL 61801                                    100 Swanlund Administration Bldg
                                                    601 E John
Michal Thomas Hudson                                M/C 304
Office of Diversity, Equity and Access              Champaign, IL 61820
100 Swanlund Admin Bldg
601 E John                                          Secretary of the Board of Trustees
M/C 304                                             354 Henry Administration Building
Champaign, IL 61820                                 506 South Wright Street
                                                    Urbana, IL 61801




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        2:15-cv-02136-CSB-EIL # 2     Page 2 of 2



Charles Secolsky          and                Charles Secolsky
4 Hartwell Ct.                               35 Coral Tree Court
Savoy, IL 61874                              Lawrenceville, NJ 08648




Dated: June 29, 2015

                                By:   s/ Marshall Dennis Mickunas______________
                                        Plaintiff’s Attorney


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